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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF PUERTO RICO


                                                           Case No. 17-BK-3283 (LTS)
   IN RE: THE FINANCIAL OVERSIGHT AND
   MANAGEMENT BOARD FOR PUERTO RICO,
   As representative of THE COMMONWEALTH
   OF PUERTO RICO, ET AL.                                   (Jointly Administered)
                                                              PROMESA TITLE III
   Debtors

                            OPPOSITION TO OBJECTION TO CLAIM

  TO THE HONORABLE COURT:

         COMES NOW, DOWNTOWN DEVELOPMENT CORP (DDC) through the undersigned

  attorney and hereby enters its appearance and respectfully states and prays as follows:

         1.     On April 24th, 2023, Debtor objected (Doc# 24050) the claim number 29504

  (1823) filed on 05/27/2018 filed by DDC in the amount of $437,284.26, arguing that “Proof of

  claim purports to assert liability on the basis of submitted invoice(s). Based on a declaration

  attesting to a reasonable review of the agency's books and records , there are no outstanding

  liabilities associated with these invoices in the agency's system”.

         2.     DDC right to the payment of the rents claimed interest had been perfected

  since May 27th, 2018, based on the Lease Agreement signed by Debtor on September 22th,

  2011, as per contract number 2012-000030, filed at Volume 6, page 434 in the contract’s

  registry of the Department of Transportation and Public Works of the Commonwealth of

  Puerto Rico (DTOP) (see Exhibit 1 - Claim number 29504, page 18); and as per the Registry of

  Contracts of the Office of the Comptroller of Puerto Rico, dispatch number 236452. See

  Exhibit 1 - Claim number 29504, page 18.

         3.     Claim 29405 includes the lease of account contained in the Exhibit 1. - Claim

  number 29504, page 5.
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         4.      Debtor has had enough and clear evidence of the debt since May 27th, 2018 ,

  and has not justified any reason to conclude that there are no outstanding liabilities

  associated with the claim documents.

         WHEREFORE, it is respectfully prayed that this Honorable Court grant the Claim
  Number 29504 as amended, and deny Debtor’s objection to Claim Number 29504.

                 Within fourteen (14) days after service as evidenced by the
         certification, and an additional three (3) days pursuant to Fed. R. Bank. P.
         9006(f) if you were served by mail, any party against whom this paper has
         been served, or any other party to the action who objects to the relief sought
         herein, shall serve and file an objection or other appropriate response to this
         paper with the Clerk’s office of the U.S. Bankruptcy Court for the District of
         Puerto Rico. If no objection or other response is filed within the time allowed
         herein, the objection will be deemed unopposed and may be granted unless:
         (1) the requested relief is forbidden by law; (2) the requested relief is against
         public policy; or (3) in the opinion of the court, the interest of justice requires
         otherwise. If you file a timely response, the court may, in its discretion,
         schedule a hearing.

         I HEREBY CERTIFY: That on this same date, I electronically filed the foregoing with
  the Clerk of the Court using the CM/ECF system, which will send notice of this filing to all
  parties in interest as per master address list.
         In San Juan, Puerto Rico, this 22nd day of May, 2023.

                                               /s/ Rosendo E. Miranda López,
                                               U.S.D.C. No. 219405
                                               Rosendo E. Miranda López, Esq.
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